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                  IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF KANSAS


TONY SUMLER,                              )
                                          )
                       Plaintiff,         )      CIVIL ACTION
                                          )
v.                                        )      No.    02-1383-MLB
                                          )
THE BOEING COMPANY,                       )
                                          )
                       Defendant.         )
                                          )

                           MEMORANDUM AND ORDER

      Before the court are the following:
      1.    Plaintiff’s motion to retax costs (Doc. 98); and

      2.    Defendant’s response (Doc. 99).
      Following the Tenth Circuit’s affirmance of this court’s order

granting Boeing’s motion for summary judgment, Boeing timely filed

a bill of costs.        Pursuant to the customary procedure in this
court, the clerk held a conference between counsel regarding the
costs and, as a result of the conference, Boeing agreed to file a
revised bill of costs.      After the revised bill was filed, the clerk
entered an award of costs in the amount of $6,311.80.                 Plaintiff

then filed a timely motion to retax the costs.
      Plaintiff    initially     argues   that    the   court   should   make   a

discretionary     order   that    each    party    bear    their   own   costs.
Plaintiff points to Boeing’s “delay” in filing its revised bill of
costs and also asserts “. . . that the issues raised in this case

include issues of general public concern as evidenced by the recent
litigation against Boeing alleging gender and race discrimination.
Moreover, the decision of the Court of Appeals was based on a
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procedural issue, failure to provide an adequate record, which did
not vindicate Boeing on the merits.”

       The court rejects plaintiff’s request.                   Insofar as timing
issues are concerned, it does not appear that plaintiff’s counsel
ever objected to what he now asserts as “delay.”                 Nor does he claim
any    prejudice    to     his   client      as   a   result    of    the    “delay.”
Plaintiff’s and Boeing’s counsel are both experienced, respected

litigators     in   this   court.        The    absence    of   any   objection    by
plaintiff’s counsel to the time periods involved operates as a
waiver.
       The court similarly rejects the request that the parties

should bear their own costs because of “public concern” and the

fact that the Court of Appeals decision in favor of Boeing was
based on a “procedural issue.”               No authority is cited for either
of these propositions and the court finds them lacking in merit.
                             Videotape Deposition
       The clerk taxed the cost of plaintiff’s videotape discovery

deposition.      Plaintiff objects on the basis that “. . . there was
never any reason to believe that Tony would be unavailable or
unable to testify at the time of trial.               The videotaping of Tony’s
deposition served no purpose in this case and was not reasonably
necessary at the time it was taken.”                  Boeing responds that the

deposition was videotaped because Boeing believed “. . . it was
reasonably     necessary         .   .   .     because    plaintiff’s       attitude,
communication skills, and ability to interact with others were key
issues . . . and Boeing wanted to show the jury through video how
plaintiff answered questions and conducted himself during                         the

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deposition.”
    Plaintiff       does   not   dispute    decisions   of   this    court   that

videotape    depositions may be taxed as costs.              E.g., Griffith v.
Mt. Carmel Medical Center, 157 F.R.D. 499, 502-03 (D. Kan. 1994).


    The     Tenth    Circuit     similarly     recognizes     that    discovery

depositions can be taxed as costs “[a]s long as the taking of the

deposition appeared to be reasonably necessary at the time it was
taken, barring other appropriate reasons for denial .                   .    .   .”
Allison v. Bank One-Denver, 289 F.3d 1223, 1249 (10th Cir. 2002).
It is routine practice to depose a plaintiff.            It is also routine
practice for a defendant to file a motion for summary judgment.

The fact that Boeing ultimately prevailed by summary judgment and
that a trial was not necessary is not determinative.                As the Tenth
Circuit observed in Callicrate v. Farmland Industries, Inc., 139
F.3d 1336 (10th Cir. 1998):
    It would therefore be inequitable to essentially penalize
    a party who happens to prevail on a dispositive motion by
    not awarding costs associated with that portion of
    discovery which had no bearing on the dispositive motion,
    but which appeared otherwise necessary at the time it was
    taken for proper preparation of the case. We will not,
    therefore, attempt to employ the benefit of hindsight in
    determining whether an otherwise taxable item was
    necessarily obtained for use in the case. Rather, we hold
    that such a determination must be made based on the
    particular facts and circumstances at the time the
    expense was incurred.
Id. at 1340; footnote omitted.
    Thus, even though the court did not consider the plaintiff’s

demeanor, attitude and voice tone in connection with ruling on
Boeing’s motion for summary judgment, that does not mean that these


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factors would have been irrelevant in the event the motion was
denied and the case proceeded to trial.             Plaintiff’s deposition

could have been used at trial for the purposes suggested by Boeing.
Fed. R. Civ. P. 32(a)(1).
    Therefore, the court finds that Boeing has met its burden to
demonstrate that its decision to videotape plaintiff’s deposition
was reasonably necessary and overrules plaintiff’s motion to retax

the costs associated with that deposition.
                               Photocopies
    Plaintiff     acknowledges      that        Boeing   is    entitled        to
reimbursement for copies necessarily obtained for use in the case.
28 U.S.C. § 1920(4).    He nevertheless contends that Boeing has not

proved that the costs associated with the copying of the documents
were reasonably necessary.
    The   documents    were   produced     by    plaintiff    pursuant    to    a
discovery request.      The parties agree that the documents were
“primarily training manuals, policies, awards and similar documents

accumulated by Tony during his employment by Boeing.”               The clerk
taxed costs of $1,001.85 paid by Boeing to a local copy company.
The number of documents copied is in the thousands, based on the
invoice charge of 15 cents per page.       Boeing admits that it did not
use any of the documents to support its motion for summary judgment

but contends that some of them might have been used as trial
exhibits in the event of a trial.
    While photocopying charges are legitimately recoverable costs,
Boeing nevertheless must establish their necessity for trial.
Allison v. Bank One-Denver, supra, 289 F.3d at 1249.            For the same

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reason as the costs associated with depositions, the fact that the
documents were not used is not determinative.                 However, Boeing has

not offered any explanation regarding which of the documents would
have been used in the event of a trial and obviously, the number
would be far, far less than the number of documents copied.
       28 U.S.C. § 1920(4) was enacted in 1948 and last amended in

1978, long before the explosion of companies which offer copy

services.     Companies such as Boeing, and their outside law firms,
undoubtedly have to balance the cost of wholesale document copying
by an outside coping service with the cost associated with having
the copying done in-house on a more selective basis.                         The court
assumes     that   in     this   case,   when      Boeing’s    counsel        received

plaintiff’s documents, the decision was made to send all the
documents to the outside copying company rather than sift through
the    documents     to    determine       which    ones   should       be     copied.
Presumably, given the sophistication of Boeing’s counsel, wholesale
copying was viewed as the preferable choice.               However, there is no

way in the world that Boeing’s counsel could have assumed that all
or even a small portion of plaintiff’s documents would be relevant
for purposes of a motion for summary judgment or trial, which is
the test for determining recoverability of the costs under section
1920(4).     Therefore, by submitting the bill for copying several

thousand     documents,     Boeing   has    failed    to   meet   its    burden     to
demonstrate that the copies were “. . . necessarily obtained for
use in the case.”          Therefore, plaintiff’s motion to retax the
copying costs is sustained.
       IT IS SO ORDERED.

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 Dated this     2nd      day of May 2006, at Wichita, Kansas.



                                    s/ Monti Belot
                                    Monti L. Belot
                                    UNITED STATES DISTRICT JUDGE




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